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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SILVER BETTY, INC.,

                          Plaintiff,

        v.                                                            Civil Action No.:

TECHNOLOGY TRAINING SYSTEMS, INC.,                                    RULE 7.1
d/b/a ANTONELLI COLLEGE, and MARY ANN                                 DISCLOSURE STATEMENT
DAVIS,

                           Defendants.
-----------------------------------------------------------------X

        Pursuant to Federal Rule of Civil Procedure 7.1, defendant Technology Training

Systems, Inc., d/b/a Antonelli College (“Defendant”), makes the following Corporate Disclosure

Statement. Defendant is not owned by any parent corporation, and no publicly held corporation

owns ten percent or more of its stock.

Dated: May 4, 2018
       White Plains, New York

                                                              YANKWITT LLP


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